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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK                 imM2\ PMII:27

  X
                                                       Ui-HX
   UNITED STATES OF AMERICA,             Case No. 18-CR.-204(NOG)



                        V.




   KEITH RANIERE,



   Defendant.




                        MEMORANDUM OF LAW IN SUPPORT OF
           DEFENDANT KEITH RANIERE'S MOTION FOR RULE 33 RELIEF




  Dated:        June 21, 2022              Keith Alan Raniere
                Tucson, AZ                 Register#: 57005-177
                                           US Penitentiary Tucson
                                          9300 S Wilmot Rd
                                           Tucson, A2 85756
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                                         INTRODUCTION


         Mr. Raniere respectfully informs the Court that there was not enough time for the issues

  in this motion to go through Mr. Tully's extensive and rigorous review process. Yet in the interest

  ofjustice, Mr. Raniere seeks to raise them and brings the instant motion pro se.

         Mr. Raniere moves the Court for an immediate evidentiary hearing based on newly

  discovered evidence pursuant to Fed. R.Crim. R 33. The newly discovered evidence includes(1)

  three computer expert reports("Expert Reports"), re-attached from Mr. Tully's Rule 33

 ("Tampering Rule 33", Dkt. 1169),(2)select email excerpts between an adversary of Raniere,

  Frank Parlato, and Neil L. Glazer ("Glazer-Parlato Emails"), and (3)eight affidavits from

  potential defense witnesses(" Witness Affidavits").

         In the Tampering Rule 33, the three experts concluded to a scientific certainty that

  government actors created, destroyed and changed digital evidence used to convict Mr. Raniere

  of possession of child pornography and sexual exploitation of a child. The experts are

  pro-law-enforcement and were disturbed by their findings showing illegal conduct on the part of

  government agents. In their century of combined experience,they have never seen anything like

  this before.

          Assistant US Attorney Kevin Trowel ofthe Eastern District of New York found the

  experts' disturbing findings of government malfeasance, which occurred in this Court, to be

 "frivolous." See Exhibit C at Bates 002 point 3. This Court chose not to designate this

  government conduct, proven by credible experts, to be a substantial issue, instead choosing to

  defer ruling on Mr. Tully's Rule 33(Dkt. 1169).

         In this motion, Mr. Raniere offers newly discovered evidence that further illustrates the

  scope of the government's unlawful actions in his case. In addition to the government's
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  premeditated creation, planting, and adjustment of digital evidence, the newly discovered

  evidence, including the experts' reports, also demonstrates precise and specific perjury among

  the major government witnesses, including government agents, as well as government

  intimidation of potential defense witnesses. This constitutes an indisputable structural error.

          Mr. Raniere respectfully requests that this Court examine the additional issues, determine

  that these issues are substantial, as per Fed. R. Grim. R 37(a)(3), and grant an immediate

  evidentiary hearing to determine the extent ofthe historic level of proven government criminal

  activity in this case.

                                        LIST OF EXHIBITS


   Exhibit     Description

   A           Expert reports of Dr. Kiper, Mr. Abrams, and Mr. Norris

   B           Defense Trial Exhibit 945 (Chain of Custody of Camera and CF Card)

   C           AUSA Kevin Trowel's Opposition to Motion to Stay

   D           Witness Affidavits

   E           Affidavit from Frank Parlato, Jr., Critic of Raniere

   F           Supplemental Affidavits and Attachments from Nicole Clyne, Eduardo Asunsolo,
               and Suneel Chakravorty

   G           Select Excerpts from Post-Trial Podcasts and Docuseries



                                          BACKGROUND


    I.    Testimony Pertinent to the FBI Tampering Issue

          Mr. Raniere was convicted ofracketeering and racketeering conspiracy. Three ofthe

  racketeering predicate acts were child pornography and two instances of sexual exploitation of a

  child. See Dkt. 430. AUSA Penza said ofthese charges,"t/ie child pornography is          at the
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  heart ofour racketeering conspiracyy See Transcript 3/18/19 at 19:15. She also said,"the

  alleged victim ofthe child pornography charges [Camila] goes throughout this case ... there*s

  very little evidence in this case that does not relate to that victimy(emphasis added)See

  Transcript 4/4/19 at 13:8-11.

          On April 3, 2019,three weeks after the superseding indictment that included the new

  charges relating to Camila, Glazer wrote to Parlato that Camila would not be testifying', but that

 "Moira[AUSA Penza] told [him], and this is a quote, ^we have all the evidence we need,'^'

 (emphasis added) See Exhibit E,Attachment 2 at Bates 007.

          The alleged victim, Camila, who was at the "heart" ofthe case did not testify in the trial.

  The government relied upon FBI Senior Examiner Brian Booth to date the photos to establish her

  age in them. SEE Booth, testified that EXIF data ofthe photos on the hard drive had dates in

  2005. See Trial Transcript 6/13/19 at 4876:8-9. He testified EXIF data is "purposely designed

  [to be more difficult to alter]" and it is the "best evidence" of when the photos were taken. See

  Trial Transcript 6/12/19 at 4820:12-4; 4830:3-11.

          SFE Booth also testified that evidence "does not always come to us sealed" and chain of

  custody "does not always need to be kept." See Trial Transcript 6/13/19 at 4887 - 4889,

          These have been established as lies in the Tampering Rule 33 based on FBI protocol and

  Dr. Kiper's report. See Dkt. 1169 at 14 3.

          FBI Special Agent Christopher Mills testified to the seizure ofthe devices at 8 Hale. See

  Trial Transcript 6/10/19 at 4290. He lied that after collection, the camera had been handled

  according to the FBI protocol, though he correctly describes the protocol. This was established in

  Mr. Tully's supplement to the Tampering Rule 33. See Dkt. 1176 at 9 H 1.

 'See Ms. Clyne's affidavit in Exhibit F for email exchanges between her and Camila shortly after the accidental
 discoveiy ofthe photos and before the Second Superseding Indictment(Dkt.430)was issued..
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           On September 27,2018, in a pre-trial discovery hearing, AUSA Hajjar explained that

  discovery materials had been taking longer to be produced to the defense, but that not everything

  had to go through their vendor. Other times, such as "an 8 Hale camera...[w]e just pulled out the

  pictures and gave them everything. That search is done." See Transcript 9/27/18 at 35:3-17. The

  camera and CF card had not been turned over to a forensic examiner. The extraction of pictures

  was done outside of normal FBI protocol.

           It is worth noting that during his testimony, SA Mills had custody ofthe camera and CF

  card. See Exhibit D at Bates 003. This means that while he was giving testimony, the items had

  already been unsealed or they were unsealed afterward, and before he turned them over to SFE

  Booth.


           SA Mills testified that the camera and hard drive were the first two items seized at 8

  Hale. Agents seemed to home in on the items. See Trial Transcript 6/10/19 at 4294:22 - 4295:19;

  4304:16 - 4307:5; 4308:1 - 4308:23. Dr. Kiper wrote ofthis,"It was as if the FBI agents knew

  what would eventually be 'found' on those devices and used at trial." See Exhibit A at 51.

           Glazer represented Daniela, the sister of Camila. Daniela testified that she managed the

  computers and backups at 8 Hale Drive. See Trial Transcript 5/28/19 at 2572:9-17. On

  November 7, 2017, around the time that the EDNY investigation began, Glazer informed Mr.

  Parlato that he had started working with law enforcement. He wrote:

           "I am not working on the civil litigation angle at the moment,there are far more

           important matters to resolve. There are moving pieces you are unaware of, interested

           eyes beyond the Albany region...We are learning precise locations ofevidence^ we

           need time to get rock solid warrants^"(emphasis added)See Exhibit E,Attachment 2 at

           Bates 004.
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  A Selection of Oddities in the Trial:


  There were a number of things that occurred in the trial, with respect to this digital evidence, that

  are peculiar:

      • Daniela and Lauren Salzman were never asked to identify their own photos on the hard

           drive, nor the camera that was used, yet they were both asked to describe the photos and

           the camera.


     • Neither ofthem were asked to identify the alleged photos of Camila, despite both

           knowing her well and Daniela being her sister. Only FBI SA Michael Weniger identified

           Camila as being the one in the photos.

      • Lauren Salzman testified Mr. Raniere took two photos of her, yet on the hard drive there

           were six in Lauren's folder on the drive.

      • Daniela testified that presence or lack of a visible appendectomy scar would determine

           Camila's age in the photo. However, she was not asked to view the photos to confirm

           whether or not there was a scar.-


      • The alleged photos of Camila belonged inside a folder dated the month and day as

           Daniela's anniversary with Mr. Raniere(November 2).

      • FBI SA Michael Lever was able to identify a fifteen-year-old Camila in the accidentally

           discovered photos, yet even her fnends sometimes cannot distinguish between her and

           her sisters.^



   11.     Government Handling of Potential Defense Witnesses



  ^ See Ms. Clyne's affidavit in Exhibit F.
  ^ See Mr. Asunsolo's affidavit in Exhibit F.
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         The government's alleged victim for the predicate acts ofsex trafficking and forced labor

  was Nicole, a woman in her late twenties at the time. Both predicate acts require the element of

  coercion to be met. Specifically,"a reasonable person ofthe same background and in the same

  circumstances [would be compelled] to perform [the sex trafficking or forced labor act] ... in

  order to avoid incurring that harm." See 18 USC § 1589(c)(2).

         The government argued that there was coercion because Nicole gave Allison Mack

  "collateral." See Trial Transcript 6/17/19 at 5388-6-17; 5413:5-8; 5414:1-2. Thus, Nicole was

  afraid her collateral would be released if she did not participate in the oral sex act with an adult

  Camila which Mr. Raniere organized and the government alleged to be sex trafficking. See Id. at

  5409:4-21. The government applied the same argument of coercion to the alleged forced labor

  conduct.


         Michele Hatchette and Danielle Roberts were DOS members in the same 'circle' as

  Nicole, under Mack. See Trial Transcript 6/7/19 at 4011:23 - 4012:2. They were all educated,

  adult women who gave collateral to Ms. Mack. They also participated in the video transcription

  task that the government alleged was part ofthe forced labor ofNicole. See Trial Transcript

  6/7/19 at 4037:13-23; Exhibit D at Bates Oil H 24; Exhibit D at Bates 038 ^ 7.

         Ms. Hatchette writes in her affidavit that in a proffer interview, the government

  "maintained that I felt pressured, threatened or coerced ... and that[DOS] collateral was 'held

  over my head'... I countered multiple times that based on my experience the collateral was ...

  never used in this way^ and thatI was not afraidi'' See Id. at Bates 014 ^ 33. Shortly before the

  trial, AUSA Penza told Ms. Hatchette's attorney that they would         likely to charge[her] with

  perjury'^ if she did not meet with them a third time before taking the stand. See Id. at Bates 014 ^
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 40. She writes,'This threat of perjury only came after my attorney informed them that I would

  most likely refuse to meet with them again or [be] willing [to] testify on their behalf." See Id.

          Ms. Roberts writes in her affidavit that "collateral was used as a tool to back our promises

  to ourselves, like surety, not as a tool offear, force, or blackmail." See Id. at Bates 038 ^ 10. In

  her proffer, when she "offered a different motivation [for her experiences in DOS]other than

  coercion," AUSA Penza "seemed to get visibly upset." See Id. at Bates 041 ^ 39. At the end of

  Ms. Roberts'second proffer interview,[AUSA Penza] threatened to subpoena[her]to testify in

  the trial against Mr. Raniere." See Id. at Bates 041 ^ 46.

          Ms. Clyne, one ofthe founding members ofDOS who had been in DOS longer than any

  ofthe government witnesses, writes in her affidavit,"/ never witnessed any threats or negatives

 [sic] consequences enacted upon [women leaving DOS]and I am most certainly not aware of

  anyone's collateral being released."(emphasis added) See Id. at Bates 045 ^ 6. Less than a

  month before trial, with jury selection already in progress, Ms. Clyne received a grand jury

  subpoena after being recognized by AUSA Penza in the courthouse, where she was for an

  unrelated matter. Ms. Penza told Ms. Clyne's attorney,''First, we are going to cut the head of

  the snake offand then we're comingfor the body. This is notgoing awayfor her,'" See Id. at

  Bates 044 5. Ms. Clyne concludes,"Had I not been frightened by the threat of retaliatory action

  by the Government, I would have chosen to testify." See Id. at Bates 047 ^11.

          Samantha LeBaron was a DOS member underneath government witness Sylvie. See Trial

  Transcript 5/8/19 at 276:22-23. She wrote in her affidavit that the government asked her

  "questions, to the effect ofifI thought in DOS,they used fear to motivate me and at one point,

  one ofthe interviewers remarked something to the effect of. But we want her to answer[that

  they usedfear],"(emphasis added) See Id. at Bates 049 ^ 18. In her interview, she recalls SA
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  Michael Weniger "raising his voice and hitting the table at times." See Id. at Bates 050 H 25.

  AUSA Penza concluded the interview saying,"I am glad you are here in Brooklyn so that we can

  call you whenever we need you." See Id. at Bates 050 ^ 29. Ms. LeBaron writes,"Because ofthe

  way I was treated during my interview I would have been too scared to testify on behalf ofthe

  defendants." See Id. at Bates 051 at   35.


         Brian Elliot is a graduate of Stanford University, Harvard Kennedy School, and Harvard

  Business School. See Id. at Bates 052 ^ 2. He co-founded an LGBT advocacy group to win

  marriage equality in New York State when he learned of NXIVM. See Id. He was never involved

  in DOS. See Id. at Bates 052 ^ 8. He writes in his affidavit,"I remember the prosecution asking

  me about the use of"collateral" in NXIVM and why I did not view it as blackmail. I explained

  that my understanding of collateral and its use within NXIVM was that it was a voluntary tool

  used by consenting parties for personal growth. My understanding of collateral was based not

  only on what I had learned from NXIVM courses, but also from Behavioral Economics research

  from Yale University, which I had found on a public website called Stikk.com." He recalls the

  prosecution got "fhistrated and [seemed] unsatisfied with what I was sharing." See Id. at Bates

  053 t 13.

         After the trial, Brian Elliot helped his brother. Marc Elliot, to plan a public speech,

  entitled,"Who's Next? The Rise of Character Assassination and Loss of Human Decency." See

  Id. at Bates 054 ^21. According to Mr. Marc Elliot, the talk was inspired by his "journey of

  beating Tourette's syndrome with the help of NXIVM,a group misrepresented as a sex cult in

  the media." See Id. at Bates 058 T| 14.Days after Mr. Marc Elliot publicly advertised the talk on

  social media,AUSA Penza called the brothers'shared attorney, demanded they immediately

  cancel the talk and said something to the effect of"If it weren't for the First Amendment,I
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  would be coming after them." See Id. at Bates 054 H 22 - Bates 055 % 25. Both brothers

  interpreted this as a terrifying threat, so much so that they immediately moved out of New York

  City. See Id. at Bates 055 H 30; Bates 059 ^ 18. Additionally, Mr. Brian Elliot severed ties with

  longtime friends who were involved with NXIVM. See Id. at Bates 055 ^ 29.

           In total there are eight witness' affidavits describing their encounters with the prosecution

  team. They are Michele Hatchette, Danielle Roberts, Nicki Clyne, Samantha LeBaron, Sahajo

  Haertel, Brian Elliot, Marc Elliot, and Brandon Porter. See Exhibit D.




  III.     Glazer and the Civil Lawsuit

           Daniela and Nicole were government witnesses in the trial. Nicole and Daniela were both

  represented in the criminal case by class-action attorney Neil Glazer. See Trial Transcript 6/10/19

  at 4268:10-11; Trial Transcript at 5/31/19 at 3275:6-20. Catherine Oxenberg introduced Nicole to

  Glazer on November 3, 2017, before the DOJ investigation began. See Trial Transcript 6/10/19

  at 4268. From then onwards, Glazer represented at least fifteen witnesses interviewed by the

  government and was present for at least thirty-three interviews. See Dkt. 853 at 2. It would have

  been clear to the government that Glazer's work, time expenditures, and travel expenses from

  trips from his base in Philadelphia to New York was in contemplation of an impending civil suit.

  Daniela testified she did not intend to file a lawsuit. See Trial Transcript 5/31/19 at 3275-3276.

  The Glazer-Parlato Emails contain emails where Glazer discusses the progress of his civil

  lawsuit."* See Exhibit E. Additionally, the background of facts cited in Mr. Agnifilo's prior Rule

  33(Dkt. 853) is adopted here.




  * Additionally, see Mr. Chakravorty's affidavit in Exhibit F,Attachment 1.
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         In one email exchange, on June 9,2018, Glazer asked Parlato to take down a blog post

  naming Daniela. He wrote,"/am more devoted to Dani*s well-being than any other clientf''

  (emphasis added) and followed up with,""1 implore you to please take down the post. You do

  not, and cannot, know all ofthe implications ofthis...We represent dozens,growing by the day.

  The criminal investigation is massive and the civil action will be unprecedented. That is soon,"

  (emphasis added) See Exhibit E,Attachment 2 at Bates 005 - 006.

          Weeks before the trial, on April 3, 2019, he wrote to Parlato:,"/aw building a civil case

  and have more than 80 clients to serve, and it grows by the week."(emphasis added)See Id. at

  Bates 007. Nicole also testified that they did not intend to file a civil lawsuit and that she had not

  discussed the matter with anyone. See Trial Transcript 6/10/19 at 4276-4277.

         On January 28 2020, after the trial, Glazer filed a civil lawsuit against Raniere, Bronfman

  and others. There were over 80 plaintiffs. Daniela and Nicole were among them. See Dkt. 1 in

  l:20-cv-00485.




                                         LEGALSTANDARD


         Rule 33 ofthe Federal Rules of Criminal Procedure provides that,"Upon defendant's

  motion, the court may vacate any judgment and grant a new trial ifthe interest ofjustice so

  requires." Fed.R.Crim.P. 33(a)."In evaluating a Rule 33 motion, the court must"examine the

  entire case, take into account all facts and circumstances, and make an objective evaluation,"

  keeping in mind that the 'ultimate test' for such a motion is 'whether letting a guilty verdict

  stand would be a manifest injustice.'" United States v. Alston, 899 F.3d 135, 146(2d Cir. 2018)

  (emphasis added). Relief under Rule 33 is based on whether:

         (1)the evidence [was] newly discovered after trial;




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         (2)facts are alleged from which the court can infer due diligence on the part of the

  movant to obtain evidence;

         (3)the evidence is material;

         (4)the evidence is not merely cumulative or impeaching; and

         (5)the evidence would likely result in an acquittal. United States v. Forbes, 790 F. 3d

  403,406-407(2d Cir. 2015).

                                           ARGUMENT


    I.   Mr. Raniere is Entitled to an Evidentiary Hearing Based on Newly Discovered

         Evidence of Perjury by Four Major Government Witnesses and Subornation of

         Perjury by the Government

      A. Applicable Law

         When a government witness commits perjury, the conviction must be set aside '"if there is

  any reasonable likelihood that the false testimony could have affected the judgment ofthe jury.'"

  Perkins v. LeFevre, 691 F.2d 616,619(2d Cir. 1982)(quoting United States v. Agurs, All U.S.

  97, 103,96 S.Ct. 2392,2397,49 L.Ed.2d 342(1976))

         Where the government had either actual knowledge of witness perjury, or, at a minimum,

  should have known of it, reversal is virtually automatic. United States v. Wallach. 935 F.2d 445

  (2d Cir. 1991).

         When a testifying government agent commits perjury, the prosecution is imputed with

  knowledge ofthe perjury:

     • That knowing perjury by a federal agent who is involved in the prosecution can constitute

         "knowing use by the prosecution" is supported by case law in this Circuit regarding




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         Brady disclosure requirements. United States v. Sanchez, 813 R Supp. 241, 247

        (S.D.N.Y. 1993), affd, 35 R3d 673(2d Cir. 1994).

     • In United States v. Morell, 524 R2d 550(2d Cir. 1975), the court held that "[\v]hile the

         prosecutor cannot be charged with the failure to produce information in the possession of

         any government official, in this case it seems fair to view [the agent] as an arm ofthe

         prosecutor." United States v. Sanchez, 813 R Supp. at 247(internal citations omitted).

     • In Pina v. Henderson, 752 R2d 47(2d Cir. 1985), the Second Circuit distinguished

         government officials who may be treated as an "arm of the prosecutor" from those who

         may not. United States v. Sanchez, 813 R Supp. at 247. The court in Pina held that a

         parole officer who "did not work in conjunction with either the police or the prosecutor"

         was not sufficiently linked with the prosecution so as to impute the officer's knowledge to

         it. Pina v. Henderson, 752 R2d at 49; See also United States v. Sanchez, 813 R Supp. at

         247. However, a police officer who "did testify in [the] trial and was the investigating

         officer," was found to be an "arm of the prosecution" whose knowledge was to be

         attributed to the prosecution. United States v. Pina, 752 R2d at 50.

     • "Whether knowledge is to be imputed fi*om a government agent to the prosecution for

         Brady purposes is instructive in determining whether knowing perjury by a government

         agent should be considered 'knowing use' by the prosecution. Cases establishing the latter

         proposition have often relied on case law developed to address the former." United States

         V. Sanchez, 813 R Supp. at 247.

     • "And where cases involve both nondisclosure and perjury, courts consider them jointly

         under the rubric of'prosecutorial misconduct.'" Id. at 248.(internal citations omitted)




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     • "In fact, the argument to charge the prosecution with knowledge of a government agent's

         perjury is even stronger than the argument to impute knowledge ofBrady material. While

         the prosecution's failure to disclose relevant information might be due to a negligent lack

         of communication, perjury by a government agent can only be a knowing, intentional

         decision to lie by a member of the institution which is charged to uphold the law and seek

         just convictions. Therefore, it is a short step indeed to apply case law regarding Brady

         obligations to instances of perjury." Id. ■



         The Glazer-Parlato Emails are newly discovered for they were not known to the defense

  until after trial. The defense would not have been able to obtain these emails prior to trial and

  thus exercised their due diligence. It is well-known that Mr. Parlato is staunchly opposed to Mr.

  Raniere and has been for many years. He only offered select parts ofthese emails after he saw

  their potential significance once he began investigating the allegation ofFBI tampering. Not only

  would it not have made sense for Mr. Raniere's trial counsel to subpoena Mr. Parlato, Mr. Parlato

  is a journalist and enjoys a well-established legal privilege of protecting his sources.

         Additionally, Mr. Raniere holds Mr. Parlato to be responsible for crafting and

  disseminating a false, hate narrative against him and his organization. He believes this narrative

  was engineered to inspire public outrage through exaggeration. This public outrage, supported by

  a 'mad dog' media, allowed this prosecution to commit malfeasance, which is historical in its

  premeditation, complexity, the number of actors involved, the high-profile nature ofthe case, and

  the credible scientifically certain proof ofthe malfeasance.




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         In including Mr. Parlato's evidence in this motion, Mr. Raniere is not in anyway

  condoning Mr. Parlato's conduct against him or Mr. Parlato's conduct against anyone who had

  been involved in his organization NXIVM,or in DOS.

          As a separate issue, the Glazer-Parlato Emails show that Glazer was working on a civil

  lawsuit before and during the criminal investigation, even just weeks before trial began and he

  considered Daniela "his favorite" client. Based on his involvement with government witnesses

  before the trial and Daniela's critical role in the case, and the fact that Daniela was in fact a

  plaintiff in the post-trial civil lawsuit, Mr. Raniere concludes that it is shown that Daniela lied

  about not intending to file a civil lawsuit. That she was Glazer's favorite client and he had been

  contemplating filing his suit before the trial belies her testimony on this point. Similarly, it is

  shown that Nicole also lied about not intending to file a civil suit or discussing the matter with

  anyone. It defies common sense that Glazer would bring a civil lawsuit, have dozens of plaintiffs

  in the weeks before trial, but never had discussed the matter with one ofthis top clients and one

  of the key government witness for sex trafficking.

          The Glazer-Parlato emails are also material to the tampering issue. Mr. Glazer writes

  about "precise locations" and roughly four months later, this comment is solidified as agents

  strangely collect the camera and hard drive as the top priority, bypassing and ignoring dozens of

  other evidentiary items along the way.

          In the Tampering Rule 33 motion, it is established that the Expert Reports are newly

  discovered, the defense exercised due diligence, and it is material, not merely cumulative or

  impeaching, and would likely result in acquittal based on its revelation of extensive government

  criminal tampering with - according to AUSA Penza- the lynchpin evidence that was at the

  "heart" of the government's case.




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         The Expert Reports also demonstrate that SEE Booth and SEE Mills committed perjury

  about the integrity and competence ofthe digital evidence. Indeed, given the multiple violations

  of protocol, including those by SA Rees and SA Lever, the perjury was evidently to hide from

  the jury that the evidence was incompetent and had been falsified by the government.

         Additionally, it is telling that SEE Booth lied repeatedly about EXIE data and chain of

  custody dindyet he told the truth about the camera and CE card being given to him unsealed.

  Unsealed evidence is a critical issue of admissibility. This evidence was at the "heart" of the

  case. To admit to this issue of admissibility would, on the face of it, appear to be a serious risk.

  That SEE Booth was willing to do so means either he was certain that it would be admitted

  regardless or there was some benefit to him, or both. The only benefit to him from admitting

  break in the chain of custody is that it provided SEE Booth plausible deniability of his

  involvement in the tampering, for the tampering on the CE card could have taken place before it

  was given to him, while it was in the custody of SA Elliot McGinnis, or SA Mills. See Exhibit B

  at Bates 003 ^ 3. Because the prosecution failed to correct SEE Booth's peijurious testimony

  about chain of custody, and this Court did not intervene, the jury was taught that a broken chain

  of custody is not abnormal in the EBI.

         Note also that AUSA Hajjar questioned SEE Booth and Mills. Given AUSA Hajjar's

  comments during the September 27,2018 hearing, it appears AUSA Hajjar likely knew that the

  camera was not handled according to protocol, and thus proactively elicited false testimony from

  Mills. However, even ifAUSA Hajjar did not know her witnesses perjured themselves, which

  would require assuming egregious incompetence and negligence on her part, it does not matter.

  AUSA Hajjar, and in fact the entire prosecution team, is imputed with knowledge of Booth's and

  Mills' perjury, for they are government agents who testified.



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          Thus, this Court should grant a complete reversal of Mr. Raniere's conviction on all

  charges, not only because this falsified digital evidence was at the "heart" of the case but because

  anything less would condone structural error in the form ofgovernment criminal malfeasance,

  reliably proven, that involved, at a minimum, multiple government agents breaking protocol,

  spoliating and manipulating evidence, and perjuring themselves repeatedly.



   II.    Mr. Raniere is Entitled to an Evidentiary Hearing Based on Newly Discovered

          Evidence of Government Intimidation of Potential Defense Witnesses

      A. Applicable Law


          The Second Circuit has held that,"[ujnder certain circumstances, intimidation or threats

  that dissuade a potential witness from testifying may infringe a defendant's due process rights...."

  United States v. Pinto, 850 F.2d 927,932(2d Cir.1988)(internal citations omitted)."The

  circumstances will warrant reversal only if the government's conduct interfered substantially

  with a witness's 'free and unhampered choice'to testify." Id. "That interference may involve

  threats of prosecution...or other intimidating conduct...that was designed to intimidate."Id.

  (internal citations omitted); See also United States v. MacCloskey,682 F.2d 468,479(4th Cir.

  1982)(holding that "[t]he government's 'suggestion' destroyed the choice of[the witness] to

  testify freely.").

          This Circuit has a three-part test to demonstrate a due process violation based on the

  government's intimidation of witnesses. The defendant must show:

         (1)that he was deprived of material and exculpatory evidence that could not be

  reasonably obtained by other means,

         (2) bad faith on the part ofthe government, and




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         (3)that the absence offundamental fairness infected the trial.

          United States v. Lebedev,932 F.3d 40, 55 (2d Cir. 2019); See also United States v.

  Williams, 205 F.3d 23,29(2d Cir. 2000); Buie v. Sullivan, 923 F.2d 10, 11 (2d Cir. 1990)



     B. Analysis

         The affidavits from eight potential defense witnesses are newly discovered. The specifics

  and extent ofthe government's intimidation tactics were not known to the defense until after

  trial, in part because the witnesses to it were silenced. The prosecution team successfully

  silenced these material potential witnesses, including the key and exculpatory witnesses, Ms.

  Hatchette and Ms. Roberts, through threats, including misuse of the Grand Jury process and the

  threat of a perjury prosecution. Government agents scared these potential witnesses from being

  willing to testify or support the defense. Thus Mr. Raniere could not have discovered this

  information and thus acted with due diligence. All ofthe witness affidavits affirm and

  corroborate with consistency the means and methods of the government agents tasked with

  menacing these, and other individuals. In particular, the affidavits of Ms. Hatchette and Ms.

  Roberts are particularly exculpatory for they were similarly situated to Nicole and would have

  primafacie invalidated the government's theory of serious harm stemming from the DOS

  collateral. The sex trafficking and forced labor charges would have been shown to be invalid.

  The affidavits of Ms. LeBaron and Mr. Brian Elliot confirm the government's refusal to accept

  an alternative viewpoint on DOS collateral, which was the keystone of their case on the

  aforementioned charges. That Mr. Marc Elliot's intimidation occurred after trial shows that even

  after a guilty verdict on all counts, the prosecution team was insistent on suppressing and

  silencing any counter-narrative. This shows the prosecution was in pursuit of winning, not truth.




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  This Court should not condone the prosecution's violation of Mr. Raniere's due process nor their

  Orwellian tactics of methodically silencing ordinary, law-abiding civilians through fear of

  imprisonment.

                                          CONCLUSION


         The newly discovered evidence reveals multiple government actors were involved in

  criminal malfeasance that was executed over an 18+ month period and was orchestrated to

  deprive Mr. Raniere of his constitutional rights and to dishonestly win a conviction. Mr. Raniere

  moves this Court to grant him all available relief under Rule 33 ofthe Federal Rules of Criminal

  Procedure that to the Court may appear just and proper.

         In particular, Mr. Raniere moves this Court to grant a public evidentiary hearing so that

  he, and the public, are allowed to ask the pertinent questions ofour public servants.




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  Dated: June 16, 2022,            CfctPay   Respectfully submitted.




                                             Keith Alan Raniere
